      Case 2:06-cr-00796 Document 109 Filed on 01/29/07 in TXSD Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
          Plaintiff,                                 §
VS.                                                  §   CRIMINAL ACTION NO. C-06-796(16)
                                                     §
JOSE ROBERTO HERNANDEZ,                              §
                                                     §
          Defendant.                                 §


      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. § 3142(f).

The following requires detention of the defendant pending trial in this case:

         (1)      There is a serious risk that the defendant will not appear for court as required; and

         (2)      There is a serious risk that the defendant will endanger the safety of another person or

the community.

         The evidence against the defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted. The defendant was on felony

probation when he committed this offense, indicating he is either unwilling or unable to comply with

court-ordered conditions of release.

         The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a

reasonable opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the corrections facility



1/2
      Case 2:06-cr-00796 Document 109 Filed on 01/29/07 in TXSD Page 2 of 2




shall deliver the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

        ORDERED this 29th day of January, 2007.




2/2
